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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:06CR243
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                MEMORANDUM
                                             )                 AND ORDER
JAMARR HOLIDAY,                              )
                                             )
              Defendant.                     )

       This matter is before the Court on the Defendant’s motion for leave to file a motion

to suppress (Filing No. 224) in this proceeding involving an alleged supervised release

revocation.

       Holiday anticipates arguing Fourth Amendment issues. The Eighth Circuit has

stated that, absent a showing of harassment, the exclusionary rule does not apply to

hearings regarding supervised release revocations. United States v. Charles, 531 F.3d

637, 640 (8th Cir. 2008). Holiday has not made a showing of harassment.

       IT IS ORDERED that the Defendant’s motion for leave to file a motion to suppress

(Filing No. 224) is denied.

       DATED this 8th day of September, 2010.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
